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                             13
                                  Proposed Attorneys for Debtors
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                             14   and Debtors in Possession
                             15                    UNITED STATES BANKRUPTCY COURT
                             16                    NORTHERN DISTRICT OF CALIFORNIA
                                                        SAN FRANCISCO DIVISION
                             17
                                   In re:                         Bankruptcy Case
                             18                                   No. 19-30088 (DM)
                                   PG&E CORPORATION,              Chapter 11
                             19                                   (Lead Case)
                                          - and -                 (Jointly Administered)
                             20
                                   PACIFIC GAS AND ELECTRIC                        CORRECTED          MOTION       OF    DEBTORS
                             21    COMPANY,                                        PURSUANT TO 11 U.S.C. §§ 105(a), 363, AND
                                                       Debtors.                    503(c) FOR ENTRY OF AN ORDER (I)
                                   ☐Affects PG&E Corporation
                             22                                                    APPROVING SHORT-TERM INCENTIVE
                                                                                   PLAN AND (II) GRANTING RELATED RELIEF
                             23    ☐Affects Pacific Gas and Electric Company       Date: March 27, 2019
                             24    ☒Affects both Debtors                           Time: 9:30 a.m. (Pacific Time)
                                                                                   Place: United States Bankruptcy Court
                             25    * All papers shall be filed in the Lead Case,          Courtroom 17, 16th Floor
                                   No. 19-30088 (DM).                                     San Francisco, CA 94102
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                              Case: 19-30088       Doc# 806      Filed: 03/08/19   Entered: 03/08/19 15:01:04   Page 1 of
                                                                              23
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                             2           PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as
                             3
                                  debtors and debtors in possession (collectively, “PG&E” or the “Debtors”) in the above-captioned
                             4
                                  chapter 11 cases (the “Chapter 11 Cases”), hereby submit this Motion (the “Motion”), pursuant to
                             5
                                  sections 105(a), 363, and 503(c) of title 11 of the United States Code (the “Bankruptcy Code”), and
                             6
                                  Rule 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for entry of an order
                             7

                             8    (I) approving a short-term incentive plan applicable to eligible non-insider employees and (II) granting

                             9    related relief. In support of this Motion, the Debtors respectfully submit the Declarations of Dinyar
                             10   Mistry (the “Mistry Declaration”) and Douglas J. Friske (the “Friske Declaration”), filed
                             11
                                  contemporaneously herewith.
                             12
                                         A proposed form of order granting the relief requested herein is annexed hereto as Exhibit A
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                             13
                                  (the “Proposed Order”).
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                              Case: 19-30088       Doc# 806     Filed: 03/08/19     Entered: 03/08/19 15:01:04       Page 2 of
                                                                             23
                             1                                                         TABLE OF CONTENTS

                             2     I.       JURISDICTION ...............................................................................................................7
                             3     II.      BACKGROUND ..............................................................................................................7
                             4
                                   III.     PRELIMINARY STATEMENT ......................................................................................8
                             5
                                   IV.      RELIEF REQUESTED ...................................................................................................10
                             6
                                   V.       THE 2019 STIP...............................................................................................................10
                             7
                                                   A.         Historical Short-Term and Long-Term Incentive Plans ..............................10
                             8

                             9                     B.         Development of 2019 STIP .........................................................................11

                             10                    C.         Summary of 2019 STIP ...............................................................................12

                             11    VI.      BASIS FOR RELIEF REQUESTED .............................................................................15

                             12                    A.         The 2019 STIP Is Appropriate Under Section 363(b)(1) of the Bankruptcy
                                                              Code.............................................................................................................16
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 New York, NY 10153-0119




                             13
                                                   B.         The 2019 STIP is Permitted Under Sections 503(c)(1) and (2) of the
      767 Fifth Avenue




                             14
                                                              Bankruptcy Code .........................................................................................17
                             15
                                                   C.         The 2019 STIP Satisfies Section 503(c)(3) of the Bankruptcy Code..........19
                             16
                                   VII. REQUEST FOR BANKRUPTCY RULE 6004(H) WAIVER .....................................211
                             17
                                   VIII. NOTICE ..........................................................................................................................22
                             18
                             19

                             20

                             21

                             22

                             23

                             24

                             25

                             26

                             27

                             28

                              Case: 19-30088            Doc# 806           Filed: 03/08/19              Entered: 03/08/19 15:01:04                        Page 3 of
                                                                                        23
                             1                                                     TABLE OF AUTHORITIES

                             2                                                                                                                                       Page(s)
                             3    Cases
                             4    Berg & Berg Enters., LLC v. Boyle,
                             5       178 Cal. App. 4th 1020 (2009) ......................................................................................................... 16

                             6    In re Borders Grp., Inc.,
                                      453 B.R. 459 (Bankr. S.D.N.Y. 2011) ........................................................................................ 18, 20
                             7
                                  Comm. of Asbestos-Related Litigants v. Johns-Manville Corp. (In re Johns-Manville
                             8      Corp.),
                                    60 B.R. 612 (Bankr. S.D.N.Y. 1986) ................................................................................................ 16
                             9
                                  In re Dana Corp.
                             10
                                      358 B.R. 567 (Bankr. S.D.N.Y. 2006) ............................................................................ 17, 18, 19, 20
                             11
                                  F.D.I.C. v. Castetter,
                             12      184 F.3d 1040 (9th Cir. 1999) .......................................................................................................... 16
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 New York, NY 10153-0119




                             13   In re Ionosphere Clubs, Inc.,
                                      98 B.R. 174 (Bankr. S.D.N.Y. 1989) ................................................................................................ 16
      767 Fifth Avenue




                             14
                                  Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated
                             15
                                      Res., Inc.),
                             16       147 B.R. 650 (S.D.N.Y. 1992).......................................................................................................... 16

                             17   In re Residential Capital, LLC,
                                      491 B.R. 73 (Bankr. S.D.N.Y. 2013) ................................................................................................ 20
                             18
                                  Scouler & Co., LLC v. Schwartz,
                             19      No. 11-CV-06377 NC, 2012 WL 1502762 (N.D. Cal. Apr. 23, 2012) ............................................ 16
                             20   In re TBR USA, Inc.,
                             21       429 B.R. 599 (Bankr. N.D. Ind. 2010) .............................................................................................. 18

                             22   In re Velo Holdings, Inc.,
                                      472 B.R. 201 (Bankr. S.D.N.Y. 2012) ........................................................................................ 18, 19
                             23

                             24

                             25

                             26

                             27

                             28

                              Case: 19-30088             Doc# 806          Filed: 03/08/19            Entered: 03/08/19 15:01:04                   Page 4 of
                                                                                        23
                             1    Statutes

                             2    11 U.S.C. § 101(31) ................................................................................................................................ 17
                             3    11 U.S.C. § 105(a) .......................................................................................................................... 2, 9, 10
                             4    11 U.S.C. § 363 ............................................................................................................................... 2, 9, 15
                             5
                                  11 U.S.C. § 363(b) ...................................................................................................................... 10, 14, 18
                             6
                                  11 U.S.C. § 363(b)(1) ............................................................................................................................. 15
                             7
                                  11 U.S.C. § 503 ....................................................................................................................................... 14
                             8
                                  11 U.S.C. § 503(c) .......................................................................................................................... 2, 9, 18
                             9
                                  11 U.S.C. § 503(c)(1) ........................................................................................................................ 16, 17
                             10
                                  11 U.S.C. § 503(c)(2) ........................................................................................................................ 16, 17
                             11
                                  11 U.S.C. § 503(c)(3) ........................................................................................................................ 18, 19
                             12
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                                  11 U.S.C. § 507 ....................................................................................................................................... 11
 New York, NY 10153-0119




                             13
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                             14   11 U.S.C. § 1107 ....................................................................................................................................... 7

                             15   11 U.S.C. § 1108 ....................................................................................................................................... 7

                             16   28 U.S.C. § 157 ......................................................................................................................................... 7
                             17   28 U.S.C. § 157(b) .................................................................................................................................... 7
                             18   28 U.S.C. § 1334 ....................................................................................................................................... 7
                             19
                                  28 U.S.C. § 1408 ....................................................................................................................................... 7
                             20
                                  28 U.S.C. § 1409 ....................................................................................................................................... 7
                             21
                                  Other Authorities
                             22
                                  B.L.R. 5011-1(a) ....................................................................................................................................... 7
                             23
                                  Bankruptcy Rule 1015(b) .......................................................................................................................... 1
                             24
                                  Bankruptcy Rule 2002 ............................................................................................................................ 22
                             25
                                  Bankruptcy Rule 6003 ............................................................................................................................ 11
                             26

                             27   Bankruptcy Rule 6004 .................................................................................................................. 2, 10, 11

                             28
                                                                                                             5
                              Case: 19-30088               Doc# 806            Filed: 03/08/19              Entered: 03/08/19 15:01:04                        Page 5 of
                                                                                            23
                             1    Bankruptcy Rule 6004(h) .................................................................................................................. 21, 22

                             2    Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges,
                                     General Order 24 (N.D. Cal.).............................................................................................................. 7
                             3

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                              Case: 19-30088             Doc# 806           Filed: 03/08/19            Entered: 03/08/19 15:01:04                     Page 6 of
                                                                                         23
                             1                           MEMORANDUM OF POINTS AND AUTHORITIES
                             2    I.     JURISDICTION

                             3           This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334, the
                             4    Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges, General Order 24
                             5
                                  (N.D. Cal.), and Rule 5011-1(a) of the Bankruptcy Local Rules for the United States District for the
                             6
                                  Northern District of California (the “Bankruptcy Local Rules”). This is a core proceeding pursuant to
                             7
                                  28 U.S.C. § 157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.
                             8

                             9    II.    BACKGROUND

                             10          PG&E Corp. was incorporated in 1995 and is a holding company whose primary operating

                             11   subsidiary is the Utility, a public utility operating in northern and central California. See Amended
                             12   Declaration of Jason P. Wells in Support of First Day Motions and Related Relief [Docket No. 263] (the
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                             13
                                  “Wells Declaration”). The Utility was incorporated in 1905 and PG&E Corp. became the holding
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                             14
                                  company of the Utility in 1997. The Utility provides natural gas and utility services to roughly 16 million
                             15
                                  customers and the Debtors together employ approximately 24,000 regular employees, approximately 20
                             16

                             17   of whom are employed by PG&E Corp. Id.

                             18          On January 29, 2019 (the “Petition Date”), the Debtors commenced with the Court the Chapter

                             19   11 Cases. The Debtors continue to operate their businesses and manage their properties as debtors in
                             20   possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.
                             21
                                         On February 12, 2019, the Acting United States Trustee for Region 3 (the “UST”) appointed a
                             22
                                  nine-member Official Committee of Unsecured Creditors (the “Creditors Committee”). On February
                             23
                                  13, 2019, the UST appointed an eleven-member Official Committee of Tort Claimants (the “Tort
                             24

                             25   Claimants Committee”).

                             26          The Debtors’ Chapter 11 Cases are being jointly administered for procedural purposes only

                             27   pursuant to Rule 1015(b) of the Bankruptcy Rules.
                             28

                              Case: 19-30088       Doc# 806      Filed: 03/08/19     Entered: 03/08/19 15:01:04        Page 7 of
                                                                              23
                             1           Additional information regarding the circumstances leading to the commencement of the Chapter

                             2    11 Cases and information regarding the Debtors’ businesses and capital structure is set forth in the
                             3
                                  Wells Declaration.
                             4
                                  III.   PRELIMINARY STATEMENT
                             5
                                         The Debtors seek through these Chapter 11 Cases to address, among other things, the claims
                             6
                                  asserted and to be asserted against them as a consequence of the 2017 and 2018 Northern California
                             7

                             8    wildfires. No resolution of the issues confronting the Debtors would be complete without the Debtors

                             9    devoting substantial time and resources to investing in infrastructure and initiatives designed to further

                             10   mitigate future wildfire risks and continuing to foster a strong safety culture. These objectives are critical
                             11
                                  to emerging from chapter 11 in a manner that maximizes value for all of the Debtors’ economic
                             12
                                  stakeholders, including wildfire claimants, local and state municipalities, the communities the Debtors
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                             13
                                  serve, the Debtors’ other creditors, and PG&E Corp.’s shareholders. In light of the devastating 2018
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                             14
                                  Northern California wildfires, the hardships incurred by communities and others, and PG&E’s financial
                             15

                             16   circumstances and need to seek relief under chapter 11, the Utility’s Board of Directors (the “Board”)

                             17   adopted senior management’s recommendation and exercised its discretion to forego paying the “at-risk”
                             18   short-term incentive-based component of its 2018 overall compensation program (the “2018 STIP”) to
                             19
                                  approximately 11,000 of the Debtors’ employees who participated in the program.
                             20
                                         Historically, employee compensation for a significant portion of the Debtors’ employees has
                             21
                                  been comprised of two components: base salary and a discretionary, incentive-based component which
                             22

                             23   includes an annual short-term incentive plan (the “STIP”). Compensation awards under the STIP have

                             24   ranged from approximately 6% to 20% of an employee’s total compensation, including equity grants.

                             25   The combination of base pay and incentive-based compensation for such employees brings their
                             26   compensation in-line with the market and their peers in the utility space.
                             27

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                              Case: 19-30088        Doc# 806      Filed: 03/08/19     Entered: 03/08/19 15:01:04          Page 8 of
                                                                               23
                             1           Over the past several weeks the Debtors have worked with their advisors, including Willis

                             2    Towers Watson PLC (“WTW”), an experienced compensation consultant, to formulate necessary
                             3
                                  adjustments to the incentive-based component of their employee compensation program to address,
                             4
                                  among other things, the pending Chapter 11 Cases. As a result of this effort, the Debtors have modified,
                             5
                                  in certain respects, the STIP for the 2019 fiscal year (the “2019 STIP”). As with prior years, the 2019
                             6
                                  STIP is purely incentive-based, conditioning any award granted under the plan (the “2019 STIP
                             7

                             8    Awards”) on the Debtors meeting carefully designed safety, financial, and operational metrics

                             9    (collectively the “Performance Metrics”), which are described in further detail below. Also, as with
                             10   prior years, the Board retains complete discretion to determine whether to pay out the 2019 STIP Awards.
                             11
                                         The 2019 STIP gives substantial weight to safety performance metrics—with those metrics
                             12
                                  constituting 50% of the formula for determining a 2019 STIP Participant’s incentive-based
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                             13
                                  compensation eligibility. In deliberately designing the plan this way, the Debtors are sending a clear
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                             14

                             15   message to their workforce that the safety of the communities the Debtors serve and of their employees

                             16   is of paramount concern during the restructuring process and into the future.

                             17          The 2019 STIP was formulated to provide continued market-based compensation and appropriate
                             18   incentives for non-insider employees. Company “insiders” who are the company’s most senior leaders
                             19
                                  are not eligible to participate in the 2019 STIP. 1 The Debtors believe that the 2019 STIP is important
                             20
                                  to maintaining and appropriately incentivizing their work force, is reasonable, and that adoption and
                             21
                                  implementation of the 2019 STIP is a sound exercise of the Debtors’ business judgment. Further, the
                             22

                             23   Debtors believe that implementation of the 2019 STIP will enhance enterprise value for the benefit of

                             24

                             25

                             26   1
                                   The Debtors are currently considering proposing an incentive-based compensation plan for their most
                                  senior employees and a retention-based compensation plan for certain key, non-insider employees. Any
                             27   such plans will, of course, be subject to this Court’s approval.
                             28
                                                                                     9
                              Case: 19-30088       Doc# 806     Filed: 03/08/19     Entered: 03/08/19 15:01:04       Page 9 of
                                                                             23
                             1    all the Debtors’ stakeholders, and promote a successful reorganization consistent with the intent and

                             2    purpose of chapter 11.
                             3
                                  IV.    RELIEF REQUESTED
                             4
                                         By this Motion, pursuant to sections 105(a), 363, and 503(c) of the Bankruptcy Code and
                             5
                                  Bankruptcy Rule 6004, the Debtors seek entry of an order approving the 2019 STIP.
                             6
                                  V.     THE 2019 STIP
                             7
                                         A.      Historical Short-Term and Long-Term Incentive Plans
                             8

                             9           For over 30 years, the Debtors have offered an annual incentive compensation plan to a broad

                             10   group of their employees whereby annual incentive awards are linked to the Debtors’ achievement of

                             11   certain key performance metrics. This provides a clear direction and incentive to participants to promote
                             12
                                  important objectives of the Debtors. Historically, these annual incentive plans have been successful in
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                             13
                                  realizing key operational objectives by aligning eligible employees’ interests with those of the Debtors
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                             14
                                  and effectively linking cash awards under the incentive plans to the overall safety, performance, and
                             15
                                  efficiency of the Debtors’ operations. Notably, the STIP component of compensation is an important
                             16

                             17   part of each participant’s total compensation and is comparable to the incentive-based pay components

                             18   of the Debtors’ industry peers.
                             19          The Debtors’ annual short-term incentive plan or “STIP” for the 2018 calendar year was
                             20
                                  structured to provide cash awards (the “2018 STIP Awards”) to eligible employees based on the
                             21
                                  Debtors’ achievement of enterprise-wide performance targets, which included metrics related to public
                             22
                                  and employee safety, customer satisfaction, and financial performance, which was adjusted for
                             23

                             24   achievement of individual goals. The STIP is part of a competitive compensation package designed to

                             25   motivate and incentivize employees who are necessary for the Debtors’ continued ability to deliver safe

                             26   and reliable electric and gas services. By design, however, as in previous years, the 2018 STIP Awards
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                              Case: 19-30088      Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04           Page 10 of
                                                                             23
                             1    were not guaranteed, and under the terms of the 2018 STIP, the Board retained complete discretion as to

                             2    whether the Debtors’ performance for the 2018 fiscal year warranted payment of the 2018 STIP Awards.
                             3
                                         The Debtors originally advised the Court that they would seek authorization to pay 2018 STIP
                             4
                                  Awards in connection with the final hearing on the Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a),
                             5
                                  363(b), and 507 and Fed. R. Bankr. P. 6003 and 6004 for Interim and Final Authority to (I) Pay
                             6
                                  Prepetition Wages, Salaries, Withholding Obligations, and Other Compensation and Benefits; (II)
                             7

                             8    Maintain Employee Benefits Programs; and (III) Pay Related Administrative Obligations

                             9    [Docket No. 8]. As stated, however, given the 2018 Northern California wildfires and the material
                             10   deterioration in the Debtors’ financial situation, the Board adopted senior management’s
                             11
                                  recommendation and exercised its discretion to forego payment of the 2018 STIP Awards, and the
                             12
                                  Debtors withdrew their request for authority to pay such awards.
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                             13
                                         Historically, the Debtors have also maintained an equity-based long-term incentive plan
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                             14

                             15   (the “LTIP”) that covered approximately 400 more senior employees, who also participated in the

                             16   annual STIP. As set forth below, the Debtors do not plan to issue any LTIP equity grants in 2019, but

                             17   have incorporated a portion of the LTIP value into the proposed 2019 STIP for certain participants who
                             18   are otherwise LTIP eligible.
                             19
                                         B.      Development of 2019 STIP
                             20
                                         Acknowledging that employee performance and motivation is critical to achieving the company’s
                             21
                                  goals, the Debtors’ compensation committee (the “Compensation Committee”) comprised of four
                             22

                             23   independent directors (none of whom will be participating in the 2019 STIP), with the assistance of

                             24   WTW, conducted a thorough evaluation of the Debtors’ existing STIP for purposes of formulating the

                             25   2019 STIP. This evaluation resulted in a modification of (i) the Performance Metrics to put a greater
                             26   emphasis on safety and financial performance, and (ii) the timing and level of potential awards to address
                             27
                                  the uncertainties associated with the Chapter 11 Cases and the absence of any LTIP grants in 2019.
                             28
                                                                                  11
                              Case: 19-30088      Doc# 806       Filed: 03/08/19 Entered: 03/08/19 15:01:04           Page 11 of
                                                                              23
                             1           As described more fully below, certain of the Performance Metrics applicable to the 2019 STIP

                             2    have been modified to reflect the current year priorities. In addition, the Debtors, in consultation with
                             3
                                  their advisors, determined that the 2019 STIP should provide for quarterly rather than annual payments,
                             4
                                  and that the 2019 STIP Awards should be adjusted in the following manner:
                             5
                                         •       To compensate for the elimination of the 2019 LTIP, 2019 STIP Awards for participants
                             6                   otherwise eligible for an LTIP equity grant have been adjusted to include 50% of the grant
                             7                   value of the LTIP award that would have been received for 2019; and

                             8           •       2019 target STIP opportunities for non-LTIP eligible employees have been increased by
                                                 25% over 2018 STIP target opportunity levels.
                             9
                                  Although the level of potential awards changed, the 2019 STIP reduces the range of potential awards.
                             10
                                  2019 STIP Awards can range from 0 to 150% of target levels, whereas the 2018 STIP allowed for awards
                             11

                             12   to range from 0 to 200% of target (in each case, not taking into account the individual performance
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                             13   modifier or “IPM” referred to below).
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                             14          After extensive deliberations and consultation with WTW, the Compensation Committee
                             15
                                  approved the 2019 STIP and the 2019 Performance Metrics on January 23, 2019.
                             16
                                         C.      Summary of 2019 STIP
                             17
                                         The following is a summary of the key terms of the 2019 STIP:
                             18
                                         1.      2019 STIP Participants: Approximately 10,000 non-insider employees will be eligible
                             19                  to receive 2019 STIP Awards (the “2019 STIP Participants”).
                             20
                                         2.      Implementation and Performance Period: To be implemented commencing in the first
                             21                  quarter of 2019. The Performance Metrics will be measured quarterly from
                                                 January 1, 2019 through December 31, 2019. Following internal audit and certification
                             22                  of performance, 2019 STIP Awards will be paid out on a quarterly basis based on
                                                 cumulative year-to-date results.
                             23
                                         3.      Total Plan Costs: The aggregate amount of potential 2019 STIP Awards at target is
                             24
                                                 approximately $235 million, with a minimum payout of $0 and an aggregate maximum
                             25                  payout of approximately $350 million inclusive of the IPM (as defined below).
                                                 Historically, the Debtors have never paid out STIP Awards at the maximum level.
                             26

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                              Case: 19-30088      Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04           Page 12 of
                                                                             23
                             1           4.     2019 STIP Awards:

                             2                         a)      Award Range: STIP Participants will receive (a) 100% of the applicable
                                                               STIP Award if the Debtors achieve, but do not exceed target performance
                             3                                 levels (the “Target STIP Awards”) with respect to the Performance
                             4                                 Metric, (b) 50% of the Target STIP Award if the Debtors meet but do not
                                                               exceed the threshold performance levels (the “Threshold STIP
                             5                                 Awards”), and (c) 150% of Target STIP Awards if the Debtors meet
                                                               maximum performance levels (“Maximum STIP Awards”). STIP
                             6                                 Awards between threshold and target and STIP Awards between target
                                                               and maximum each will be interpolated on a linear basis. STIP
                             7                                 Participants will not be eligible to receive STIP Awards if the Debtors do
                             8                                 not meet threshold-level Performance Metrics. If a STIP Participant
                                                               voluntarily terminates employment, all future awards are forfeited. If a
                             9                                 STIP Participant is involuntarily terminated, other than for cause, the STIP
                                                               Participant shall receive the next quarterly payment, but shall receive no
                             10                                future payments. The average target opportunity is approximately 15% of
                                                               base salary per participant.
                             11

                             12                        b)      Individual Performance Modifier: STIP Participants at the director
                                                               level and below who substantially exceed certain individualized
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                             13                                performance goals (limited to approximately 10% of such STIP
                                                               Participants) will be eligible, on a quarterly basis, to receive an individual
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                             14                                performance modifier (“IPM”) that will entitle them to receive a
                                                               supplement to their STIP Award equal to 25% of the total value of their
                             15                                STIP Award. At target, this is estimated not to exceed, in the aggregate,
                             16                                approximately $5.5 million.

                             17                        c)      Board Discretion: Any payments of 2019 STIP Awards are ultimately
                                                               subject to complete Board discretion, including a decision to reduce or
                             18                                forego payment entirely.
                             19   As noted above, (i) 2019 STIP Awards for LTIP eligible 2019 STIP Participants have been adjusted to
                             20   include 50% of the value of any LTIP award such employees would have received but for the suspension
                             21
                                  of the LTIP, and (ii) 2019 STIP Participants not eligible for LTIP awards will receive a 25% increase
                             22
                                  over the 2018 STIP Award levels.
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                              Case: 19-30088     Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04             Page 13 of
                                                                            23
                             1         5.      Performance Metrics and Weighting:

                             2                       a)    Safety Metrics (inclusive of all safety-related Performance Metrics)
                                                           (Weight: 50%):
                             3

                             4                             (i)     Nuclear Reliability and Safety Indicator (Weight: 5%):
                                                                   Measures nuclear power generation and safety. The metric scores
                             5                                     are based on 11 industry-accepted performance indicators.

                             6                             (ii)    Public Safety Index (Weight: 10%): This metric has been
                                                                   revised to include two new equally weighted sub-metrics:
                             7
                                                                   o Enhanced Vegetation Management (“EVM”):               EVM
                             8
                                                                     measures how many circuit miles of vegetation have been
                             9                                       cleared under the EVM program within high-fire risk areas to
                                                                     reduce wildfire risk.
                             10
                                                                   o System Hardening: System Hardening measures completed
                             11                                      circuit miles of fire design applications within high-fire risk
                                                                     areas.
                             12
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                                                           (iii)   First-Time ILI Miles (Weight: 10%): This metric measures and
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                             13
                                                                   sets targets for completion of first-time inspections of natural gas
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                             14                                    pipelines following the introduction of in-line inspection tools.

                             15                            (iv)    Asset Records Duration Index (Weight: 10%): Weighted
                                                                   evenly between natural gas and electricity jobs. This metric tracks
                             16
                                                                   and sets targets for the average number of days required to
                             17                                    complete the as-built process of capital and expense jobs.

                             18                            (v)     Serious Injuries and Fatalities Corrective Actions Index
                                                                   (15%): Measures response to employee and contractor serious
                             19                                    injuries and fatalities events. Consists of two equally weighted
                                                                   measures that measure quality of corrective actions and timely
                             20
                                                                   completion of corrective actions.
                             21
                                                     b)    Customer Satisfaction (Weight: 10%): Measures and sets targets for
                             22                            the number of customer complaints escalated to the CPUC. This is a new
                                                           metric.
                             23
                                                     c)    Financial Performance (Weight: 40%): Earnings from Operations
                             24                            (“EFO”):      Measures financial performance from core operations
                             25                            calculated as net income adjusted for income or expenses associated with
                                                           events or circumstances outside of ongoing core operations. Company-
                             26                            wide EFO results are publicly disclosed on a quarterly basis through SEC
                                                           filings.
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                              Case: 19-30088    Doc# 806   Filed: 03/08/19 Entered: 03/08/19 15:01:04            Page 14 of
                                                                        23
                             1            The pool of approximately 10,000 2019 STIP Participants is largely comprised of those

                             2    employees who were eligible to participate in the 2018 STIP. As stated, no “insiders,” who are the
                             3
                                  Debtors’ most senior leaders, are included among the 2019 STIP Participants.            The 2019 STIP
                             4
                                  Participants, many of whom have specialized training and experience directly related to utility
                             5
                                  management and regulatory compliance, work across various departments within the Debtors’
                             6
                                  organization, including operations, engineering, customer organization, finance, human resources,
                             7

                             8    information technology, and legal, and have developed valuable institutional knowledge regarding the

                             9    Debtors’ ongoing business operations.
                             10           WTW has reviewed the terms and provisions of the 2019 STIP and believes that the structure,
                             11
                                  Performance Metrics, design and range of potential 2019 STIP Awards are consistent with the Debtors’
                             12
                                  industry, with the only material difference in design being quarterly payments, which, however, are very
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                             13
                                  common in companies undergoing a restructuring. See Friske Declaration at 8.
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                             14

                             15   VI.     BASIS FOR RELIEF REQUESTED

                             16           The relief requested in this Motion should be approved for several reasons. First, the 2019 STIP

                             17   largely represents the ordinary course continuation of prepetition compensation practices and constitutes
                             18   a sound exercise of the Debtors’ business judgment. The program is reasonable in view of the need to
                             19
                                  maintain competitive market compensation, particularly in the circumstances of these Chapter 11 Cases,
                             20
                                  and in view of the incentive-based nature of the 2019 STIP. Further, the 2019 STIP fully complies with
                             21
                                  the requirements of sections 363(b) and 503 of the Bankruptcy Code. The 2019 STIP does not include
                             22

                             23   any insiders and, in any event, is incentive-based, and is consistent with industry metrics. Further, the

                             24   2019 STIP clearly is justified by the facts and circumstances of these Chapter 11 Cases, and aligns the

                             25   participants’ compensation with appropriate performance goals that will preserve and maximize value
                             26   for the all parties in interest.
                             27

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                              Case: 19-30088        Doc# 806         Filed: 03/08/19 Entered: 03/08/19 15:01:04      Page 15 of
                                                                                  23
                             1           A.      The 2019 STIP Is Appropriate Under Section 363(b)(1) of the Bankruptcy Code

                             2           Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that “[t]he [debtor], after
                             3    notice and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of
                             4
                                  the estate[.]” 11 U.S.C. § 363(b)(1). Under section 363 of the Bankruptcy Code, a Court may authorize
                             5
                                  a debtor to enter into transactions outside the ordinary course of business where a sound business purpose
                             6
                                  exists for doing so. See In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989). The
                             7

                             8    business judgment rule is satisfied where “the directors of a corporation acted on an informed basis, in

                             9    good faith and in the honest belief that the action taken was in the best interests of the company.” See,

                             10   e.g., Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In re Integrated Res., Inc.),
                             11
                                  147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985)); see
                             12
                                  also F.D.I.C. v. Castetter, 184 F.3d 1040, 1043 (9th Cir. 1999) (the business judgment rule “requires
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                             13
                                  directors to perform their duties in good faith and as an ordinarily prudent person in a like circumstance
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                             14
                                  would”). “Where the debtor articulates a reasonable basis for its business decisions (as distinct from a
                             15

                             16   decision made arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s

                             17   conduct.” Comm. of Asbestos-Related Litigants v. Johns-Manville Corp. (In re Johns-Manville Corp.),
                             18   60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). Courts construing California corporate law have consistently
                             19
                                  declined to interfere with corporate decisions absent a showing of bad faith, self-interest, or gross
                             20
                                  negligence, and have upheld a board’s decisions as long as such decisions were made in good faith.
                             21
                                  Scouler & Co., LLC v. Schwartz, No. 11-CV-06377 NC, 2012 WL 1502762, at *4
                             22

                             23   (N.D. Cal. Apr. 23, 2012); Berg & Berg Enters., LLC v. Boyle, 178 Cal. App. 4th 1020, 1046 (2009).

                             24          Here, implementation of the 2019 STIP is a proper exercise of the Debtors’ business judgment

                             25   and is in the best interests of the Debtors and their stakeholders. The 2019 STIP Participants are critical
                             26   to ongoing operations and to preserving and enhancing enterprise value, and it is imperative that the
                             27
                                  Debtors provide appropriate, market-based compensation and incentives to ensure the success of the
                             28
                                                                                 16
                              Case: 19-30088      Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04            Page 16 of
                                                                             23
                             1    Debtors’ restructuring efforts. As stated above, the 2019 STIP largely continues the Debtors’ historical

                             2    incentive compensation practices, with certain modifications to the Performance Metrics to further
                             3
                                  emphasize safety and financial performance and certain modifications to award levels and timing of
                             4
                                  payment to address the circumstances attendant to the pending Chapter 11 Cases. See In re Dana Corp.,
                             5
                                  358 B.R. 567, 579 (Bankr. S.D.N.Y. 2006) (finding that because a debtor’s pospetition incentive plan
                             6
                                  was a “refinement” of historical practices, the proposed plan was within the ordinary course).
                             7

                             8           Just as with the 2018 STIP and previous STIPs, the Compensation Committee and the Board

                             9    undertook a rigorous process to ensure that the 2019 STIP is designed with the near-term operational
                             10   and financial objectives of the Debtors in mind—which resulted in the development of new, targeted
                             11
                                  metrics and refinements to existing metrics. Notably, employees can earn payments if—and only if—
                             12
                                  the Debtors meet the Performance Metrics under the 2019 STIP and the Board acts to approve the
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                             13
                                  payments.
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                             14

                             15          Additionally, the 2019 STIP closely resembles historical STIPs in many respects, including

                             16   (a) remaining an “at-risk” plan with no guarantee of payment, (b) providing for quarterly measurements,

                             17   and (c) providing for a merit-based IPM adjustment for a limited number of participants. Moreover, the
                             18   costs associated with the 2019 STIP are in line with the Debtors’ historical annual compensation plans
                             19
                                  when factoring in the LTIP value.
                             20
                                         B.      The 2019 STIP is Permitted Under Sections 503(c)(1) and (2) of the
                             21                  Bankruptcy Code
                             22          The 2019 STIP is permissible under section 503(c)(1) and (2) of the Bankruptcy Code.
                             23
                                  Specifically, section 503(c)(1) of the Bankruptcy Code restricts payments made to “insider[s] of the
                             24
                                  debtor for the purpose of inducing such person to remain with the debtor’s business”—i.e., those insider
                             25
                                  plans that are essentially “pay to stay” plans—and section 503(c)(2) of the Bankruptcy Code restricts
                             26

                             27   severance payments to insiders. In re Velo Holdings Inc., 472 B.R. 201, 209–10 (Bankr. S.D.N.Y. 2012);

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                                                                                 17
                              Case: 19-30088      Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04          Page 17 of
                                                                             23
                             1    In re Borders Grp., Inc., 453 B.R. 459, 471 (Bankr. S.D.N.Y. 2011) (quoting In re Dana Corp., 358 B.R.

                             2    at 571). Simply put, because the 2019 STIP does not contemplate any payments to insiders, and, in any
                             3
                                  event, because the 2019 STIP is incentive based, sections 503(c)(1)–(2) of the Bankruptcy Code are not
                             4
                                  applicable to the relief requested in this Motion.
                             5
                                         And, even if a consideration of the issue of “insiders” were at all relevant, which plainly it is not,
                             6
                                  as stated, no insiders are eligible to participate in the 2019 STIP. The Bankruptcy Code defines an
                             7

                             8    “insider” to include an “officer of the debtor” and a “person in control of the debtor,”

                             9    (11 U.S.C. § 101(31)). It is well-established, however, that an employee’s job title, alone, does not make
                             10   such employee an “insider” as defined by the Bankruptcy Code. See In re Borders Grp., Inc., 453 B.R.
                             11
                                  at 469 (noting that “[c]ompanies often give employees the title ‘director’ or ‘director-level,’ but do not
                             12
                                  give them decision-making authority akin to an executive” and concluding that certain “director level”
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                             13
                                  employees in that case were not insiders). “Insider” status under the Bankruptcy Code turns on the
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                             14

                             15   degree to which a purported “insider” controls the Debtor. See, e.g., id. at 469 (“[I]nsiders must have at

                             16   least a controlling interest in the debtor or . . . exercise sufficient authority over the debtor so as to

                             17   unqualifiably dictate corporate policy and the disposition of corporate assets.”) (citations omitted); In re
                             18   TBR USA, Inc., 429 B.R. 599, 624–25 (Bankr. N.D. Ind. 2010) (“Control means the actual exercise of
                             19
                                  managerial discretion,” or “usurping the power of the debtor’s directors and officers to make business
                             20
                                  decisions.”) (internal quotation marks and citations omitted).
                             21
                                         Although certain of the 2019 STIP Participants hold titles such as “director,” “manager,” or
                             22

                             23   “vice-president,” none exercise a level of control commensurate with that of an “insider” within the

                             24   purview of section 101(31) of the Bankruptcy Code. 2 No 2019 STIP Participants (a) report directly to

                             25

                             26   2
                                    A very small number of STIP Participants (approximately 8) serve on the Boards of Directors (or
                                  similar governing bodies) and/or hold officer titles of certain of the Debtors’ non-debtor affiliates. The
                             27   non-debtor affiliates have no material assets or business operations.
                             28
                                                                                  18
                              Case: 19-30088       Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04             Page 18 of
                                                                              23
                             1    the Board, (b) are appointed directly by the Board, (c) direct the Debtors’ overall corporate governance,

                             2    (d) control the Debtors’ company policy, (e) exercise managerial control over the Debtors’ operations
                             3
                                  as a whole, or (f) have the ability to determine their own compensation.             Consistent with the
                             4
                                  aforementioned limitations on authority, none of the 2019 STIP Participants has discretionary control
                             5
                                  over substantial budgetary amounts. In each case, a 2019 STIP Participant must receive direction or
                             6
                                  consent from a senior company officer before such 2019 STIP Participant can take any significant action
                             7

                             8    with respect to the Debtors’ corporate policies, the disposition of significant assets, or any other action

                             9    with material economic consequences. Thus, no 2019 STIP Participant’s role or responsibility in the
                             10   Debtors’ business warrants treating him or her as an “insider” within the purview of section 503(c) of
                             11
                                  the Bankruptcy Code. Moreover, as stated above, because the 2019 STIP is incentive based, the issue
                             12
                                  of whether there is any insider participation is irrelevant.
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                             13
                                         C.      The 2019 STIP Satisfies Section 503(c)(3) of the Bankruptcy Code
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                             14
                                         Section 503(c)(3) of the Bankruptcy Code permits payments to a debtor’s employees outside the
                             15

                             16   ordinary course of business if such payments are justified by “the facts and circumstances of the case.”

                             17   11 U.S.C. § 503(c)(3). Courts have concluded that whether payments to employees are justified by the
                             18   “facts and circumstances” of a case is to be determined by application of the same business judgment
                             19
                                  standard utilized under section 363(b) of the Bankruptcy Code. See In re Velo Holdings Inc., 472 B.R.
                             20
                                  at 209 (Bankr. S.D.N.Y. 2012) (“[The] ‘facts and circumstances’ language of section 503(c)(3) creates
                             21
                                  a standard no different than the business judgment standard under section 363(b).”); In re Dana Corp.,
                             22

                             23   358 B.R. at 576–77 (describing six factors that courts may consider when determining whether the

                             24   structure of a compensation proposal meets the “sound business judgment test” in accordance with

                             25   section 503(c)(3) of the Bankruptcy Code). Accordingly, the determination of whether the 2019 STIP
                             26   is justified by the facts and circumstances of the case and the analysis of whether the approval of such
                             27
                                  plan is a sound exercise of the debtor’s business judgment under section 363(b) are the same.
                             28
                                                                                  19
                              Case: 19-30088       Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04           Page 19 of
                                                                              23
                             1           Courts have generally utilized the Dana factors when determining if the structure of a

                             2    compensation proposal and the process for its development meet the business judgment test. See, e.g.,
                             3
                                  In re Residential Capital, LLC, 491 B.R. 73, 84–85 (Bankr. S.D.N.Y. 2013) (applying the Dana factors
                             4
                                  to the debtors’ retention plan for non-insiders and approving the plan as an exercise of sound business
                             5
                                  judgment); In re Borders Grp., Inc., 453 B.R. at 473–74 (same). In Dana, the Bankruptcy Court set
                             6
                                  forth the following factors for evaluating whether a debtor has satisfied the “sound business judgment”
                             7

                             8    test for purposes of the approval of a compensation plan under section 503(c)(3) of the Bankruptcy Code:

                             9           •       Is there a reasonable relationship between the plan proposed and the results to be
                                                 obtained, i.e., will the key employee stay for as long as it takes for the debtor to reorganize
                             10                  or market its assets, or, in the case of a performance incentive, is the plan calculated to
                             11                  achieve the desired performance?

                             12          •       Is the cost of the plan reasonable in the context of the debtor’s assets, liabilities and
                                                 earning potential?
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                             13
                                         •       Is the scope of the plan fair and reasonable; does it apply to all employees; does it
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                             14                  discriminate unfairly?
                             15
                                         •       Is the plan or proposal consistent with industry standards?
                             16
                                         •       What were the due diligence efforts of the debtor in investigating the need for a plan;
                             17                  analyzing which key employees need to be incentivized; what is available; what is
                                                 generally applicable in a particular industry?
                             18
                                         •       Did the debtor receive independent counsel in performing due diligence and in creating
                             19                  and authorizing the incentive compensation?
                             20
                                  In re Dana Corp., 358 B.R. at 576–77. As set forth below, to the extent applicable, all of these factors
                             21
                                  are satisfied as to the 2019 STIP.
                             22
                                         First, in light of the Debtors’ current circumstances, the 2019 STIP was carefully tailored to (a)
                             23
                                  drive performance to achieve critical safety, operational, and financial objectives, and (b) provide
                             24
                                  competitive compensation that motivates employees to achieve the Performance Metrics that will
                             25
                                  promote safety and maximize enterprise value.
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                              Case: 19-30088      Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04               Page 20 of
                                                                             23
                             1           Second, the 2019 STIP falls within the range of competitive practice relative to company size

                             2    and incentive structure and design of peer companies. Further, the cost of the 2019 STIP is consistent
                             3
                                  with the Debtors’ ordinary course, historical incentive compensation structure, and certainly reasonable
                             4
                                  in light of the size of the Debtors’ business enterprise and the number of participants in the plan.
                             5
                                         Third, the 2019 STIP is available to a broad group of approximately 10,000 of the Debtors’
                             6
                                  employees, including certain union-represented employees. The 2019 STIP is consistent with past
                             7

                             8    practice as to scope and participation and is designed to provide customary, incentive-based

                             9    compensation.
                             10          Fourth, as stated above, and in the Friske Declaration, the 2019 STIP is consistent with industry
                             11
                                  standards in terms of scope, design, and metrics. Indeed, a fundamental purpose of the 2019 STIP is to
                             12
                                  provide the participants with competitive compensation in a manner that aligns their interests with the
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                             13
                                  interests of the Debtors’ business and the maximization of value for the benefit of the Debtors’ economic
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                             14

                             15   stakeholders.

                             16          Lastly, again, as referenced above, the 2019 STIP is the product of due diligence with the input

                             17   of the Debtors’ professional advisors. WTW has reviewed the Performance Metrics and the plan design
                             18   and believes that it comports with plans adopted by peers in the Debtors’ industry.
                             19
                                         Accordingly, the Debtors request that the Court find that adoption of the 2019 STIP is a sound
                             20
                                  exercise of the Debtors’ business judgment and the facts and circumstances of the Chapter 11 Cases
                             21
                                  warrant approval of the 2019 STIP.
                             22

                             23   VII.   Request for Bankruptcy Rule 6004(h) Waiver

                             24          It is important for employee morale and the establishment of appropriate incentives that the 2019

                             25   STIP become effective promptly. Thus, the Debtors request a waiver of the 14-day stay (to the extent
                             26   such stay applies) of an order authorizing the use, sale, or lease of property outside the ordinary course
                             27
                                  of business under Bankruptcy Rule 6004(h). Accordingly, the Debtors request that the Court find that
                             28
                                                                                 21
                              Case: 19-30088      Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04             Page 21 of
                                                                             23
                             1    ample cause exists to grant a waiver of Bankruptcy Rule 6004(h) and waive the stay to the extent it

                             2    applies.
                             3
                                  VIII. Notice
                             4
                                         Notice of this Motion will be provided to (i) the Office of the United States Trustee for Region
                             5
                                  17 (Attn: James L. Snyder, Esq. and Timothy Laffredi, Esq.); (ii) counsel to the Creditors Committee;
                             6
                                  (iii) counsel to the Tort Claimants Committee; (iv) Counsel to the Engineers and Scientists of California
                             7

                             8    Local 20; (v) the Securities and Exchange Commission; (vi) the Internal Revenue Service; (vii) the

                             9    Office of the California Attorney General; (viii) the California Public Utilities Commission; (ix) the

                             10   Nuclear Regulatory Commission; (x) the Federal Energy Regulatory Commission; (xi) the Office of the
                             11
                                  United States Attorney for the Northern District of California; (xii) counsel for the agent under the
                             12
                                  Debtors’ debtor in possession financing facility; and (xiii) those persons who have formally appeared in
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                             13
                                  these Chapter 11 Cases and requested service pursuant to Bankruptcy Rule 2002.             The Debtors
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                             14
                                  respectfully submit that no further notice is required. No previous request for the relief sought herein
                             15

                             16   has been made by the Debtors to this or any other Court.

                             17

                             18
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                                                                [Remainder of page intentionally left blank]
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                              Case: 19-30088      Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04           Page 22 of
                                                                             23
                             1           WHEREFORE the Debtors respectfully request entry of an order granting (i) the relief requested

                             2    herein as a sound exercise of the Debtors’ business judgment and in the best interests of their estates,
                             3
                                  creditors, shareholders, and all other parties interests, and (ii) such other and further relief as the Court
                             4
                                  may deem just and appropriate.
                             5
                                  Dated: March 8, 2019
                             6
                                                                                         WEIL, GOTSHAL & MANGES LLP
                             7
                                                                                         KELLER & BENVENUTTI LLP
                             8

                             9                                                           By: /s/Jane Kim
                                                                                                Jane Kim
                             10
                                                                                         Proposed Attorneys for Debtors
                             11                                                          and Debtors in Possession
                             12
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                              Case: 19-30088       Doc# 806      Filed: 03/08/19 Entered: 03/08/19 15:01:04             Page 23 of
                                                                              23
